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                                UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF LOUISIANA

 Dorothy Nairne, et al.,

           Plaintiffs,

 v.
                                                         Civil Action: 3:22-cv-00178

 Kyle Ardoin, in his official capacity as
 Secretary of State for Louisiana,

           Defendant.




                                AFFIDAVIT OF BRENNAN BOWEN

         BEFORE ME, the undersigned authority, personally came and appeared, BRENNAN

BOWEN, who being duly first sworn, did depose and say;

      1. That I practice law at 2575 E. Camelback Road, Suite 860, Phoenix, AZ 85016. That I am

         a member in good standing with the Arizona State Bar and was admitted on May 3, 2021. I

         am admitted to practice law in Arizona and the Ninth Circuit. That there have been no

         disciplinary proceedings or criminal charges instituted against me in any jurisdiction.

         Attached hereto as “Exhibit A” is a Certificate of Good Standing from the Supreme Court

         of Arizona.

      2. That I DO SOLEMNLY SWEAR that I will conduct myself as an attorney and counselor of

         this Court, uprightly and according to law; and that I will support the Constitution of the

         United States. I do formally swear that I have read the Federal Rules of Civil Procedure, 28

         U.S.C.; the Federal Rules of Criminal Procedure, 18 U.S.C.; Federal Rules of Evidence;

         and the Local Rules of the United States District Court for the Middle District of Louisiana,

         and I am fully prepared to use and abide by them in my practice before this Court.

      3. That the matters set forth in this Affidavit are true and correct.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on July 19th, 2023


         /s/ Brennan Bowen
         Brennan Bowen


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